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PROB IZB
(7/93)

                                 United States District Court
                                                     for
                                       District of New Jersey
           Request for Modifying the Conditions or Term of Supervision
                          with Consent of the Offender
                              (Probation Form 49, WaIver of Hearing Is Attached)

Name of Offender: Walter Covington
                                                                                           Cr.: 02-00195-008
                                                                                             PACTS #32284
Name of Sentencing Judicial Officer: The Honorable Dennis M. Cavanaugh, United States District
                                                                                                        Judge
Date of Original Sentence: 02/09/05

Original Offense: Conspiracy to Distribute Cocaine

Original Sentence: 70 months incarceration; five years supervised release

Date of Violation: 11/16/10

Violation Offense: Alcohol/Narcotic Use

Violation Sentencing: 6 months incarceration; two years supervised release

Type of Supervision: Supervised Release                            Date Supervision Commenced: 06/21/11
                                    PETITIONING THE COURT

{ j    To extend the term of supervision for     Years, for a total term of    Years.
[X]    To modify the conditions of supervision as follows. The addition of the following special
       condition(s):

       RESIDENTIAL REENTRY CENTER PLACEMENT (3 months WITH weekend privileges)

       You shall reside for a period of 3 months in a community corrections center, halfway house or
       similar residential facility and shall observe all the rules of that facility. You shall be eligible for
       weekend privileges. You shall pay subsistence as required by the program.

                                                  CAUSE
       On December 10, 2012, the offender was arrested for possession/use of cocaine by the Jersey City
       Police Department The changes are pending in the Jersey City Municipal Court, in Jersey City, New
       Jersey. On December 12, 2012, the offender tested positive for marijuana and PCP use and signed
       an admission form indicating he used the substances on December 11, 2012.

                                                                   Respectfully submitted,
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                                                                   By: Suzanne J. Golda M ureen Kelly
                                                                       U.S. Probation Officer
                                                                   Date: 12/21/12
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                                                                            PROB 128.Pagc2
                                                                              Walter Covington

THE COURT ORDERS:

[‘e Modification of Conditions as Noted Above
[ ] The Extension of Supervision as Noted Above
[ j No Action
[ J Other

                                                                              Officer


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